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 6                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                             NO. CR17-85-JCC
 8

 9                                  Plaintiff,

10          v.
                                                           DETENTION ORDER
11   JAMES LOWELL PHILLIPS,
12
                                    Defendant.
13

14   Offense charged:
15          Count 2:       Felon in Possession of a Firearm
16   Date of Detention Hearing: April 27, 2017
17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20          1.        Defendant has stipulated to detention due to being already held in custody on
21   another matter, but reserves the right to contest his continued detention if there is a change in
22   circumstances.
23          2.        There are no conditions or combination of conditions other than detention that
24   will reasonably assure the appearance of defendant as required or ensure the safety of the
25   community.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           IT IS THEREFORE ORDERED:
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           (1)    Defendant shall be detained and shall be committed to the custody of the
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                  Attorney General for confinement in a correction facility separate, to the extent
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                  practicable, from persons awaiting or serving sentences or being held in custody
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                  pending appeal;
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           (2)    Defendant shall be afforded reasonable opportunity for private consultation with
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                  counsel;
 9
           (3)    On order of a court of the United States or on request of an attorney for the
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                  government, the person in charge of the corrections facility in which defendant
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                  is confined shall deliver the defendant to a United States Marshal for the
12
                  purpose of an appearance in connection with a court proceeding; and
13
           (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
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                  counsel for the defendant, to the United States Marshal, and to the United States
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                  Pretrial Services Officer.
16
           DATED this 27th day of April, 2017.
17

18                                               A
                                                 JAMES P. DONOHUE
19                                               Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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